Case 3:08-cr-00013-MCR   Document 83   Filed 05/13/08   Page 1 of 7
Case 3:08-cr-00013-MCR   Document 83   Filed 05/13/08   Page 2 of 7
Case 3:08-cr-00013-MCR   Document 83   Filed 05/13/08   Page 3 of 7
Case 3:08-cr-00013-MCR   Document 83   Filed 05/13/08   Page 4 of 7
Case 3:08-cr-00013-MCR   Document 83   Filed 05/13/08   Page 5 of 7
Case 3:08-cr-00013-MCR   Document 83   Filed 05/13/08   Page 6 of 7
Case 3:08-cr-00013-MCR   Document 83   Filed 05/13/08   Page 7 of 7
